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 PACHULSKI STANG ZIEHL & JONES LLP
 Jeffrey N. Pomerantz (pro hac vice pending)
 John A. Morris (pro hac vice pending)
 Gregory V. Demo (pro hac vice pending)
 Hayley R. Winograd (pro hac vice pending)
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067
 Tel: (310) 277-6910
 Fax: (310) 201-0760

 HAYWARD PLLC
 Melissa S. Hayward
 Texas Bar No. 24044908
 MHayward@HaywardFirm.com
 Zachery Z. Annable
 Texas Bar No. 24053075
 ZAnnable@HaywardFirm.com
 10501 N. Central Expy, Ste. 106
 Dallas, Texas 75231
 Tel: (972) 755-7100
 Fax: (972) 755-7110

 Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                         )
 In re:                                                  )   Chapter 7
                                                         )
 HIGHLAND SELECT EQUITY MASTER                           )   Case No. 23-31037-swe7
 FUND, L.P.,                                             )
                                                         )
                                   Debtor.               )

                            NOTICE OF APPEARANCE AND REQUEST
                            FOR NOTICES AND SERVICE OF PAPERS

          PLEASE TAKE NOTICE that below captioned counsel hereby appear in this matter on

behalf of Highland Capital Management, L.P. (“Highland”). Counsel hereby enters its appearance

pursuant to section 1109(b) of Title 11 of the United States Code (the “Bankruptcy Code”) and

Rule 9010(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and requests

that the undersigned be added to the official mailing matrix and service lists in the above captioned

chapter 7 case. Counsel requests, pursuant to Bankruptcy Rules 2002, 3017, and 9007 and section



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1109(b) of the Bankruptcy Code, that copies of all notices and pleadings given or required to be

given in this chapter 7 case and copies of all papers served or required to be served in this chapter

7 case, including but not limited to, all notices (including those required by Bankruptcy Rule 2002),

reports, pleadings, motions, applications, lists, schedules, statements, and all other matters arising

herein or in any related adversary proceeding, be given and served upon Highland through service

upon Counsel, at the address, telephone, and email addresses set forth below:

 PACHULSKI STANG ZIEHL & JONES LLP                    Melissa S. Hayward
 Jeffrey N. Pomerantz                                 Zachery Z. Annable
 John A. Morris                                       HAYWARD PLLC
 Gregory V. Demo                                      10501 N. Central Expy, Ste. 106
 Hayley R. Winograd                                   Dallas, Texas 75231
 10100 Santa Monica Blvd., 13th Floor                 Tel: (972) 755-7100
 Los Angeles, CA 90067                                Fax: (972) 755-7110
 Telephone: (310) 277-6910                            Email: MHayward@HaywardFirm.com
 Facsimile: (310) 201-0760                                    ZAnnable@HaywardFirm.com
 Email: jpomerantz@pszjlaw.com
         jmorris@pszjlaw.com
         gdemo@pszjlaw.com
         hwinograd@pszjlaw.com


        PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in the

Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of any

application, complaint or demand, motion, petition, pleading or request, and answering or reply

papers filed in this case, whether formal or informal, written or oral, and whether served

transmitted or conveyed by mail, email, hand delivery, telephone, telegraph, telex or otherwise

filed or made with regard to the above-captioned case and proceedings therein.



        PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

Service Pursuant to Fed. R. Bankr. P. 2002 shall not be deemed or construed to be a waiver of any


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of the rights of Highland, including, without limitation, to (i) have final orders in noncore matters

entered only after de novo review by a higher court, (ii) trial by jury in any proceeding so triable

in this case, or any case, controversy, or adversary proceeding related to this case, (iii) have the

reference withdrawn in any matter subject to mandatory or discretionary withdrawal, or (iv) any

other rights, claims, actions, defenses, setoffs, or recoupments to which Highland may be entitled

in law or in equity, all of which rights, claims, actions, defenses, setoffs, and recoupments are

expressly reserved.

                                     [Signature Page Follows]




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 Dated: July 14, 2023                    PACHULSKI STANG ZIEHL & JONES LLP

                                         Jeffrey N. Pomerantz (CA Bar No. 143717)
                                         John A. Morris (NY Bar No. 2405397)
                                         Gregory V. Demo (NY Bar No. 5371992)
                                         Hayley R. Winograd (NY Bar No. 5612569)
                                         10100 Santa Monica Blvd., 13th Floor
                                         Los Angeles, CA 90067
                                         Telephone: (310) 277-6910
                                         Facsimile: (310) 201-0760
                                         Email: jpomerantz@pszjlaw.com
                                                 jmorris@pszjlaw.com
                                                 gdemo@pszjlaw.com
                                                 hwinograd@pszjlaw.com

                                         -and-

                                         HAYWARD PLLC
                                         /s/ Zachery Z. Annable
                                         Melissa S. Hayward (Texas Bar No. 24044908)
                                         Zachery Z. Annable (Texas Bar No. 24053075)
                                         10501 N. Central Expy, Ste. 106
                                         Dallas, Texas 75231
                                         Telephone: (972) 755-7100
                                         Facsimile: (972) 755-7110
                                         Email: MHayward@HaywardFirm.com
                                                 ZAnnable@HaywardFirm.com
                                         Counsel for Highland Capital Management, L.P.




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